Case 8:20-cv-00993-MCS-ADS Document 306 Filed 02/15/22 Page 1 of 2 Page ID #:14154



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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10    NETLIST INC., a Delaware             Case No. 8:20-cv-00993-MCS-ADS
 11    corporation,
                                            JUDGMENT
 12                     Plaintiff,
 13
                  v.
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 15    SAMSUNG ELECTRONICS CO.,
       LTD., a Korean corporation,
 16
 17                     Defendant.
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Case 8:20-cv-00993-MCS-ADS Document 306 Filed 02/15/22 Page 2 of 2 Page ID #:14155



  1         Pursuant to the jury’s Verdict, the Court’s Order Re: Motions for Summary
  2   Judgment and Related Applications, and the Court’s Order Re: Motions for Entry of
  3   Judgment, it is ordered, adjudged and decreed:
  4         1.     Judgment is entered in favor of Plaintiff Netlist Inc. and against Defendant
  5   Samsung Electronics Co., Ltd., on Netlist’s first claim for breach of the supply provision
  6   in the parties’ contract, Joint Development and Licensing Agreement (“JDLA”) § 6.2.
  7   Netlist shall recover nominal damages in the amount of $1.00.
  8         2.     Judgment is entered in favor of Netlist and against Samsung on Netlist’s
  9   second claim for breach of the NRE fee payment obligation, JDLA §§ 3.1–.2. Netlist
 10   shall recover nominal damages in the amount of $1.00.
 11         3.     Judgment is entered in favor of Netlist and against Samsung on Netlist’s
 12   third claim for declaratory relief. Netlist terminated the JDLA pursuant to JDLA § 13.2,
 13   and Samsung’s licenses and rights under the JDLA have ceased.
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 15   IT IS SO ORDERED.
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 17    Dated: February 15, 2022
 18                                                   MARK C. SCARSI
                                                      UNITED STATES DISTRICT JUDGE
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